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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                             MIAMI DIVISION

                                        Case No.

 JOEL MESSA,

       Plaintiff,
 v.

 FORD MIDWAY MALL, INC.,

       Defendant.
 ______________________________/

                            COMPLAINT AND DEMAND
                               FOR JURY TRIAL

       Plaintiff Joel Mesa brings this action against Ford Midway Mall, Inc. under

 the Consumer Leasing Act (“CLA”) 15 U.S.C. § 1667 and its implementing

 regulations, 12 C.F.R. § 1013 et seq. (“Regulation M”).

                           JURISDICTION AND VENUE

       1.     The Court has federal question jurisdiction under 28 U.S.C. § 1331

 because the claim arises from the CLA, a federal statute. 15 U.S.C. § 1667d(c).

       2.     Venue is proper before this Court because the acts and transactions

 giving rise to Plaintiff’s action occurred in this district, Plaintiff resides in this

 district, and Defendant transacts business in this district.

                                       PARTIES

       3.     Plaintiff is a natural person who at all relevant times resided in Miami-

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 Dade County, Florida.

        4.       Defendant is a Florida for profit corporation with its principal place of

 business at 8155 West Flagler St. Miami, FL 33144.

                              FACTUAL ALLEGATIONS

        5.       In July 2018, Defendant leased a new 2018 Ford Mustang (“Vehicle”)

 to Plaintiff.

        6.       The Vehicle was leased under a Florida Moto Vehicle Lease Agreement

 (“Lease”). A copy of the lease is attached as Exhibit A.

        7.       The Lease provided Plaintiff with the option to buy the Vehicle at the

 end of the lease term for $17,397.65 plus official fees and taxes and reasonable

 documentary fee if allowed by law. Id. ¶ 8.

        8.       Defendant assigned the Lease to Ford Motor Credit Company.

        9.       At the end of the lease term, Plaintiff contacted Ford about the process

 to buy the Vehicle.

        10.      Ford directed Plaintiff to buy the Vehicle through Defendant.

        11.      In May 2022, Plaintiff visited Defendant to exercise the purchase option

 and buy the Vehicle.

        12.      To buy the Vehicle, Defendant charged Plaintiff a $1,731 “Predelivery

 Service Charge” and a $495.50 “Electronic Registration Filing Fee.”

        13.      Defendant required Plaintiff to pay these fees to buy the Vehicle.


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       14.    The above fees were not disclosed in the purchase option price in the

 Lease.

      COUNT I AS TO DEFENDANT’S VIOLATION OF FEDERAL
   CONSUMER LEASING ACT 15 U.S.C. § 1667a AND REGULATION M

       15.    The CLA governs the disclosures in the Lease because the lease term

 ran for 36 months and was for less than $58,300. 15 U.S.C. § 1667(1).

       16.    Plaintiff is a natural person who leased the Vehicle primarily for

 personal, family, and household purposes. 15 U.S.C. § 1667(1)-(2).

       17.    Defendant had to comply with the CLA’s disclosure requirements

 because it was a “lessor” under the CLA.

       18.    Defendant is a large car dealership that has leased, offered, or arranged

 to lease vehicles more than five times in the preceding calendar year or more than

 five times in the current calendar year. 15 U.S.C. § 1667(3); Reg. M § 1013.2(h).

       19.    As described above, Defendant had substantial involvement in the lease

 transaction with Plaintiff.

       20.    The disclosure of the purchase option price in the Lease had to be

 accurate, clear, conspicuous, and complete. 12 CFR § 1013.3(a).

       21.    Under Regulation M, a lease must disclose whether the lessee has the

 option to buy the leased property at the end of the lease term. 12 CFR § 1013.4(i).

       22.    The Official Interpretations to 12 CFR § 1013.4(i)-5 provides:

              Lessors must disclose the purchase-option price as a sum

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              certain or as a sum certain to be determined at a future date
              by reference to a readily available independent source. The
              reference should provide sufficient information so that the
              lessee will be able to determine the actual price when the
              option becomes available. Statements of a purchase price
              as the “negotiated price” or the “fair market value” do not
              comply with the requirements of § 1013.4(i).

       23.    If the purchase option is provided for in the lease, Regulation M also

 requires disclosure of the taxes, fees, and other charges that must be paid to exercise

 the purchase option. Official Interpretations 12 CFR § 1013.4(i)-3.

       24.    Defendant violated 15 U.S.C. § 1667 and 12 CFR § 1013.4(i) by

 choosing not to disclose that payment of the “Predelivery Service Charge” and

 “Electronic Registration Filing Fee” was required to exercise the purchase option

 and buy the Vehicle at the end of the lease.

       25.    Defendant violated 15 U.S.C. § 1667 and 12 CFR § 1013.4(i) by

 choosing not to disclose that the purchase option price would be more than the

 purchase option price provided for in the Lease.

       26.    Defendant violated 12 CFR § 1013.3(a) because the purchase option

 price in the Lease was unclear, inaccurate, and incomplete.

       27.    These omissions were material to Plaintiff’s decision to enter into the

 Lease, and Plaintiff detrimentally relied on these material omissions.

       28.    Plaintiff suffered financial loss. He paid more than what the Lease

 required to buy the Vehicle.


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       29.    Had Defendant provided an accurate, complete, and clear purchase

 option price in the Lease, which it was required to do, Plaintiff would have

 negotiated better terms or declined to lease the Vehicle.

       30.    Defendant’s illegal conduct was the actual and proximate cause of the

 actual damages suffered by Plaintiff.

       31.    Pursuant to 15 U.S.C. § 1640, Plaintiff is entitled to recover actual and

 statutory damages from Defendant and reasonable attorney’s fees and costs.

                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiff asks the Court to enter judgment against

 Defendant as follows:

       A.     Actual and Statutory Damages as provided by law;

       C.     Pre-judgment and post-judgment interest, as allowed by law;

       D.     Reasonable attorneys’ fees and costs;

       E.     Injunctive relief requiring Defendant to honor its obligation under its

 Lease agreements to sell the Leased vehicles for the price identified on the Lease

 agreement; and

       F.     Such other and further relief as is just and proper.

                                  JURY DEMAND

              Plaintiff hereby demands a trial by jury on all issues so triable.

                                          Respectfully submitted,


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